Case 3:16-cv-03033-RAL
         Case 2:15-cv-00188-ABJ
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                          IN THE UNITED STATES DISTRICT COURT
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                               FOR THE DISTRICT OF WYOMING



  GLOBAL L, LLC, d/b/a PIONLliR PARK
  MHC,
                       Plaintiff,

                          V.
                                                              Case No. 15-CV-188-ABJ

  MARTI LUNDAHL. and HOLidL
  TELFORD.


                      Defendants.


                                           JUDGMENT


        The Court has entered its separate Order Awarding Global E and CenluryUnk Cosfs and

 AUorney.s' Fees (Doc. No. 70) finding that judgment should be entered in favor of Global E,

 LLC and CcnturyLink against Marti Lundahl and Hollie Telford for costs and attorneys' fees.

 Accordingly, it is


        ORDERED, ADJUDGED, AND DECREED that the defendants, Marti Lundahl and

 llollie Telford. hereby owe Global E and CcnturyLink costs and attorneys' fees. Global E is

 entitled to $18.40 in costs and $2,000.00 in attorneys" fees. CcnturyLink is entitled to $13.46 in

 costs and $1,870.00 in attorneys' fees.

        Dated this 9"^ay of May,2016.


                                           ALAN B. JOIlNSi
                                           UNI TED S TATES DISTRICT JUDGE
